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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

 SAGE BUSH,                                            HON.

       PLAINTIFF,
                                                       CASE No.
 v.


 MICHIGAN STATE UNIVERSITY,
 MICHIGAN STATE UNVERSITY BOARD OF
 TRUSTEES, LOU ANNA SIMON in her individual
 and official capacity as President,
 JESSICA NORRIS in her individual and official
 capacity as Title IX Coordinator,
 ANDE DUROJAIYE in his individual and official
 capacity as Deputy Title IX Coordinator and
 Director of the Office of Institutional Equity,
 LAUREN SPENCER in her individual and official
 capacity as Office of Institutional Equity
 Investigator,
 and OTHER UNIDENTIFIED ROES,

      DEFENDANTS.




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                            COMPLAINT AND JURY DEMAND

       Plaintiff, SAGE BUSH, by and through her attorney, KAREN TRUSZKOWSKI, hereby

files the following complaint against Defendants as captioned above.

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                             JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331.

2. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), because the events giving

   rise to this claim occurred in this judicial district, and because Plaintiff and Defendants are

   both located in this judicial district.

                                       THE PARTIES

3. Plaintiff was, at all material times, an enrolled undergraduate student at Michigan State

   University.

4. Defendant Michigan State University (“MSU”) is a public university receiving federal

   funds.

5. Defendant MSU is governed by Defendant Michigan State University Board of Trustees.

   (“Trustees”).

6. Defendant Lou Anna Simon (“Simon”) at all material times was the President of Michigan

   State University.

7. Defendant Jessica Norris (“Norris”) at all material times was the MSU Title IX

   Coordinator. Plaintiffs are informed and allege that as the Title IX Coordinator Defendant

   Norris was responsible for oversight of all Title IX-related activities at the University.

   Defendant Norris was later promoted to Associate Vice-President of the Office for Civil

   Rights and Title IX Compliance.

8. Defendant Ande Durojaiye (“Durojaiye”) at all material times was the Deputy Title IX

   Coordinator and Director of the Office of Institutional Equity (“OIE”). Plaintiffs are

   informed and allege that as the Deputy Title IX Coordinator and Director of the Office of




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   Institutional Equity, Defendant Durojaiye was responsible for supervising the Title IX

   investigators as well as the day-to-day operations of the Title IX office.

9. Defendant Lauren Spencer (“OIE Investigator”) at all material times was the Title IX

   Investigator assigned to Plaintiff’s reports to OIE.

                          APPLICABLE LAW AND POLICY

10. MSU receives federal financial assistance and is subject to the dictates of Title IX.

11. Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a), states

   that:

           No person in the United States shall, on the basis of sex, be excluded from
           participation in, be denied the benefit of, or be subjected to discrimination
           under any education program or activity receiving Federal financial
           assistance. . .

12. Title IX is implemented through the Code of Federal Regulations. See 34 C.F.R. Part 106.

13. 34 C.F.R § 106.8(b) provides:

           . . . A recipient shall adopt and publish grievance procedures providing for
           prompt and equitable resolution of student and employee complaints
           alleging any action which would be prohibited by this part.

14. In Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1988), the United

   States Supreme Court recognized that a recipient of federal educational funds intentionally

   violates Title IX, and is subject to a private damages action, where the recipient is

   “deliberately indifferent” to known acts of teacher-student discrimination.

15. While a school in itself may not be committing the sexual harassment, it can be said to be

   intentionally discriminating if it knows of severe and pervasive sexual harassment

   occurring within its control, for example, and does nothing. Gebser, 524 U.S. at 290.




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16. In Davis v. Monroe County Board of Education, 526 U.S. 629 (1999), the United States

   Supreme Court extended the private damages action recognized in Gebser to cases where

   the harasser is a student, rather than a teacher.

17. Davis held that a complainant may prevail in a private Title IX damages action against a

   school district in cases of student-on-student harassment where the funding recipient is:

           (a) deliberately indifferent to sexual harassment of which the recipient has
               actual knowledge, and
           (b) the harassment is so severe, pervasive, and objectively offensive that it
               can be said to deprive the victims of access to the educational
               opportunities or benefits provided by the school.
               Davis, 526 U.S. at 1669-76.

                                BACKGROUND FACTS

18. The Defendant Trustees, by the Michigan State Constitution, are vested with the authority

   to supervise, control, and govern MSU.

19. The Office of Civil Rights (“OCR”), a division of the United States Department of

   Education (“USED”), is responsible for the implementation, interpretation, and

   enforcement of Title IX.

20. The OCR has promulgated numerous documents outlining the requirements for an

   educational institution to comply with Title IX, including the 2014 Dear Colleague Letter

   (“DCL”), which deals specifically with peer-on-peer harassment and sexual assault.

   Although the DCL was rescinded in 2017, its provisions still apply to the events

   enumerated within.

21. The USED was authorized by Congress to promulgate regulations to govern the

   implementation, interpretation, and enforcement of Title IX.

22. The 2014 DCL is a “significant guidance document,” intended to provide educational

   institutions with clarity as to the requirements they must follow in order to be in compliance

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   with the USED. Pursuant to 72 Fed. Reg. 3424, a “guidance document” was “an agency

   statement of general applicability and future effect, other than a regulatory action…that

   sets forth a policy on a statutory, regulatory, or technical issue or an interpretation of a

   statutory issue.”

23. The 2014 DCL specifically outlines the requirements that educational institutions were

   required to follow regarding peer-on-peer sexual harassment and assault at the time of the

   events detailed in this complaint.

24. At the time of the events detailed in this complaint, a failure to adhere to the requirements

   outlined in the DCL could result in the loss of federal funding for an educational institution.

25. In 2010 and 2011, the OCR initiated investigations into MSU after three separate

   complaints were filed against the institution to determine if MSU had violated their

   requirements under Title IX regarding the handling of complaints of sexual harassment and

   sexual assault on campus.

26. In September 2015, the OCR released its report regarding the findings of its investigation

   of MSU. Among the findings are the following:

           •   MSU failed to notify students and employees of MSU’s notice of non-

               discrimination.

           •   MSU failed to notify students and employees of the name or title of the Title

               IX Coordinator.

           •   MSU had grievance policies that were not compliant with Title IX.

           •   MSU failed to respond to reports of sexual harassment and sexual violence in a

               prompt and equitable manner, thereby causing and contributing to a sexually

               hostile environment of campus.


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27. Although MSU’s policy at the time was to complete an investigation of sexual harassment

   within, at most, 120 days of the initial report, MSU consistently failed to comply with this

   policy.

28. At the time of the conduct alleged in this complaint, MSU had a policy to always provide

   information about interim measures available to protect complainants who filed complaints

   of Title IX violations, whether or not the complainant wanted to pursue an investigation.

   Interim measures could include the following:

             •   No contact directives

             •   Housing reassignment

             •   No trespass orders

             •   Interim suspensions

             •   Changing class schedules

             •   Academic assistance and accommodations

                 COMMON ALLEGATIONS REGARDING PLAINTIFF
                                         Incident #1

29. The Plaintiff began her freshman year at MSU in the fall of 2015.

30. On or about November 2015, the Plaintiff began a social and or romantic relationship with

   a fellow MSU student (“JOHN ROE1”). JOHN ROE1 was 20-21 years old and upon

   information and belief, a junior or senior.

31. JOHN ROE1 was a personal trainer. He was approximately 6’3” and 180 pounds, whereas

   the Plaintiff is 5’6” and 115 pounds.

32. JOHN ROE1 routinely emotionally, mentally, sexually, and physically abused Plaintiff

   during their romantic relationship.


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33. The abuse escalated, such that in January 2016, the Plaintiff informed JOHN ROE1 that

   she no longer was interested in a relationship with JOHN ROE1.

34. JOHN ROE1 expressed an interest in maintaining a relationship with Plaintiff, despite the

   Plaintiff’s express representation that Plaintiff was not interested in a friendship.

35. Over the summer of 2016, Plaintiff and JOHN ROE1 communicated occasionally by text

   and social media but had no face-to-face contact.

36. When school began in the fall of 2016, JOHN ROE1 contacted Plaintiff and asked if they

   could get together. In October 2016, Plaintiff agreed to meet JOHN ROE1 at his apartment.

37. During that meeting, despite Plaintiff’s protests, and her express representation that she

   was not interested in anything more than a platonic relationship with JOHN ROE1, JOHN

   ROE1 forced himself on the Plaintiff and he sexually assaulted her. After the assault, the

   Plaintiff left JOHN ROE1’s apartment. At that point, Plaintiff did not report what had

   occurred to police or the university.

38. After the assault, JOHN ROE1 threatened Plaintiff with the knowledge that he knew where

   she lived and that he knew how to get into her dormitory room.

39. Based upon his threats and earlier erratic behavior, Plaintiff was genuinely fearful that

   JOHN ROE1 would assault her again.

40. Plaintiff routinely saw JOHN ROE1 running by her dormitory, even though JOHN ROE1

   lived in Capitol Villa Apartments, and would have no reason to be in the vicinity of

   Plaintiff’s dormitory.




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                                           Incident #2



41. On the evening of November 11, 2016, the Plaintiff agreed to pick up a friend (“JOHN

   ROE2”) that was at the fraternity house of Sigma Kappa, the MSU chapter of the national

   fraternity Delta Kappa Epsilon. At the time, JOHN ROE2 was a member of the Sigma

   Kappa fraternity, but he did not live in the fraternity house.

42. Plaintiff was acquainted with JOHN ROE2 and other members of the fraternity as Plaintiff

   was in the same academic program as JOHN ROE2 and other fraternity members.

43. Plaintiff and JOHN ROE2 were planning to get late-night food in a MSU residential dining

   room, but upon Plaintiff’s arrival at the fraternity house JOHN ROE2 indicated that he did

   not want to leave immediately.

44. Plaintiff went inside the fraternity house and obtained a cup of water herself from the

   kitchen tap.

45. Plaintiff did not consume any alcohol, although alcohol and recreational drugs were readily

   available.

46. Plaintiff remembers seeing drugs and alcohol being used by both fraternity and non-

   fraternity members both on that night, and during previous visits to the house.

47. Although a toxicology screen later showed cannabinoids in Plaintiff’s system, Plaintiff

   does not remember smoking or consuming marijuana or any other drug that night.

48. Plaintiff, at the fraternity for the sole purpose of picking up her friend, had no intention of

   engaging in lengthy socializing with other men in the house.

49. The Plaintiff recalls that, when she arrived at the Sigma Kappa fraternity house, it appeared

   to be at the end of a party with approximately 12 people present.


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50. The last thing that the Plaintiff remembered clearly after arriving at the house was

   complimenting an unknown adult woman on her scarf.

51. Plaintiff eventually woke up in an upstairs room of the fraternity house.

52. Upon waking, Plaintiff began to feel dizzy, had double-vision, had difficulty walking, was

   confused, and intermittently blacked out.       She was not aware of how much time had

   passed. She did not recognize her surroundings.

53. Plaintiff made her way to the stairs. Although she had difficulty walking, Plaintiff

   attempted to maneuver down the stairs.

54. The fraternity president of the Sigma Kappa chapter of Delta Kappa Epsilon was at the

   bottom of the stairs.

55. The Plaintiff asked the fraternity president to call 911. Despite the obvious difficulties

   Plaintiff was experiencing, the fraternity president refused to call 911.

56. Plaintiff managed to call 911 herself.

57. Eventually the Plaintiff found herself on the front porch of the fraternity house being

   attended to by EMS and or police.

58. Plaintiff was taken by ambulance to Sparrow Hospital at approximately 3:00 a.m. on

   November 12, 2016, where she was diagnosed as having a drug overdose.

59. Plaintiff underwent a toxicology screening while at the hospital and marijuana was found

   in her system, but no alcohol or other drugs.

60. Although Plaintiff recalls hospital personnel asking Plaintiff if she wanted a Sexual Assault

   Nurse’s Exam (“SANE”), Plaintiff was confused and scared, was still in shock, and

   declined the SANE.       Plaintiff realized later that she had been sexually and physically

   assaulted.


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      61. The Plaintiff was discharged from Sparrow Hospital at approximately 9:00 a.m. on

           November 12, 2016.

      62. Following her discharge from the hospital, the Plaintiff experienced extreme pain

           throughout her body. Plaintiff had extreme muscle aches in her torso, extremities, and her

           genital area.

      63. Plaintiff instinctively knew she had been sexually assaulted based upon how her body felt

           physically.

      64. The Plaintiff managed to take her fall 2016 semester final exams and finished that semester.

                                          FIRST MEETING WITH OIE

      65. After final exams in December 2016, the Plaintiff contacted the Office of Institutional

           Equity (“OIE”) to arrange a meeting with an OIE investigator.

      66. Upon information and belief, the OIE Investigator was new in her position, was not

           adequately trained, and Plaintiff was one of her first “investigations.”

      67. Plaintiff met with the OIE Investigator after final exams in December 2016.

      68. Plaintiff brought her long-time childhood friend (“Sally”) 1 to the meeting with the OIE

           Investigator.

      69. The meeting with the OIE Investigator lasted less than an hour.

      70. During that meeting, the Plaintiff provided the OIE Investigator with details about both

           incidents. Plaintiff expressed concerns about her fear of JOHN ROE1, and the retaliation

           she experienced from members of the fraternity.

      71. In response to the Plaintiff’s report of the two incidents, the OIE Investigator responded by

           stating to Plaintiff, “You’re lucky. It could’ve been a lot worse.”


1
    Sally is a pseudonym to protect Sally’s identity.

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72. Plaintiff was not advised by the OIE Investigator to seek sexually transmitted infection

   (“STI”) or pregnancy testing, a forensic exam, a physical exam, or any other medical

   treatment.

73. The OIE Investigator told the Plaintiff that Plaintiff could press criminal charges against

   JOHN DOE1, but said, “It’s hard to prove, probably nothing would come of it, and you

   would have to see [the alleged perpetrators] which would be more damaging.”

74. The OIE Investigator did not refer Plaintiff to the Michigan State University Sexual Assault

   Program (“SAP”) nor did the investigator mention the SAP.

75. The OIE Investigator did not offer Plaintiff academic accommodations or a referral to the

   Resource Center for Persons with Disabilities (“RCPD”).

76. The OIE Investigator did not offer Plaintiff interim measures.

77. Although the Plaintiff was informed of her right to have a no-contact directive against

   JOHN DOE1 put into place, Plaintiff felt discouraged from doing so because of the OIE

   Investigator’s statements.

78. Despite knowing that JOHN ROE1 had threatened Plaintiff, the OIE investigator

   discouraged the Plaintiff from seeking a no-contact directive against JOHN ROE1 because

   Plaintiff “did not see JOHN ROE1 often, he was graduating soon, and Plaintiff did not

   have any classes with him.”

79. The OIE Investigator discouraged the Plaintiff from pursuing anything whatsoever against

   JOHN ROE1 because, “[JOHN ROE1] was a senior, he would be gone soon, and there

   would be a negative notation on his transcripts.”

80. The OIE Investigator also discouraged the Plaintiff by stating to Plaintiff, “You would not

   want to ruin his [JOHN ROE1] chances of getting into a graduate program.”


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81. The Plaintiff felt as if the OIE Investigator was implying that the Plaintiff was responsible

   for JOHN ROE1’s future and that JOHN ROE1’s future was more important than the

   Plaintiff’s future.

82. Plaintiff was not informed of her right, under Title IX and MSU’s Relationship Violence

   and Sexual Misconduct (“RVSM”) Policy, to be protected from retaliation.

83. Additionally, the OIE Investigator discouraged the Plaintiff from going to law enforcement

   about the incident at the Sigma Kappa chapter of the Delta Kappa Epsilon fraternity house

   because, “Fraternities are complicated.”

84. Plaintiff was so discouraged by the representations made by the OIE Investigator she

   became frightened to the point that she decided she could not report the incident(s) to law

   enforcement.

85. Although the Plaintiff was told that the OIE Investigator would follow up with the Plaintiff,

   the only further communication the Plaintiff had from the investigator was a cursory email.

86. Since the assaults, Plaintiff has been prescribed multiple medications to help her with the

   resulting depression, anxiety, panic attacks, Post-Traumatic Stress Disorder, and insomnia.

87. Before the incidents, the Plaintiff was an exemplary student with a strong academic record.

   Since the assaults, the Plaintiff’s grades have plummeted, and she has failed classes.

88. There is nothing that has changed in Plaintiff’s life or in her commitment to her education

   that could have negatively impacted her grades so significantly other than the sexual assault

   and the resulting indifference by OIE.

89. The Plaintiff was informed by one of her friends of the existence of the SAP. Plaintiff

   sought assistance from the SAP on her own as the OIE Investigator had not informed her

   of the available SAP services.


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      90. The Plaintiff also sought assistance from the RCPD on her own sometime in 2017.

      91. In the fall of 2018, Plaintiff requested academic accommodations from RCPD. As part of

           that request, the Plaintiff again had to disclose the traumatizing incidents of 2016.

      92. In the fall of 2018, Plaintiff’s assaults were reported to OIE by a MSU employee that

           Plaintiff confided in. That employee was a mandatory reporter.

      93. As a result of the report to OIE, the OIE office reached out to the Plaintiff to offer the

           Plaintiff the option of meeting with an investigator again.

      94. In January 2019, at MSU’s request, the Plaintiff again met with an OIE Investigator. That

           investigator was the same investigator that Plaintiff met with in the fall of 2016.

      95. The OIE Investigator told the Plaintiff that the Plaintiff was one of the investigator’s first

           OIE assignments, insinuating that the investigator was not adequately trained.

      96. Because of the lack of training, it is clear that the OIE Investigator did not do an adequate

           job of informing the Plaintiff of her Title IX rights, or her options to report when she first

           met with Plaintiff in fall 2016.

      97. As reported by the State News the MSU chapter of Delta Kappa Epsilon has had the highest

           number of reported sexual assaults occur in the last four years, not including the incidents

           that happened with Plaintiff. 2

      98. MSU recognizes and authorizes the local chapter of Delta Kappa Epsilon.

      99. Discouraging female students from reporting sexual assaults committed by fraternity

           members, as the OIE Investigator did to Plaintiff, plausibly creates an environment where

           male fraternity members can sexually assault women without repercussions.

      100.         This environment creates a heightened risk of sexual assault for women.


2
    The State News, Inside the Fraternities: The State News Investigates sexual misconduct, November 2017.

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    101.         MSU has been under scrutiny regarding its handling of sexual assault cases,

        especially regarding prominent figures on the MSU campus. MSU has been and continues

        to be under investigation by the Michigan Attorney General, the National Collegiate

        Athlete Association (“NCAA”); the Michigan Legislature; the United States Congress and

        Senate; the U.S.         Department of Education, Office for Civil Rights; and the U.S.

        Department of Education, Federal Student Aid Division.

    102.         MSU has not been transparent when dealing with various investigators, agencies,

        and media regarding sexual assault incidents and/or allegations.

    103.         MSU created and fostered an unwritten and unofficial policy of treating certain

        sexual assault complaints differently depending upon the identity of the alleged perpetrator.

    104.         MSU’s policy was designed to suppress public knowledge and prevent

        investigation of perpetrators to the detriment of the sexual assault victims.

                 (a)      This policy emboldens perpetrators and gives them unwritten permission to

                          commit acts of sexual assault without consequences

                 (b)      MSU created an atmosphere and culture in which women became

                          vulnerable to predatory men.

                                       TRENDS NOTICED BY THE
                                           SEXUAL ASSAULT
                                         PROGRAM DIRECTOR

    105.         Shari Murgittroyd, (“Murgittroyd”), a previous director of the SAP, supervised the

        SAP counselors from 2005 through 2015. 3




3
  In addition to her time as the SAP Director, Shari Murgittroyd is a trauma therapist who is qualified as an expert
witness in the area of sexual assault trauma and domestic violence. She teaches a class at MSU entitled Power,
Privilege, and Intimate Violence.

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106.      In her role as Director of the SAP, Murgittroyd made the following observations

   about the MSU culture of minimizing or even ignoring sexual harassment.

107.      Administrators at MSU including the OIE investigator that the Plaintiff met with

   were not trained in sensitive, trauma-based response and thus discouraged victims from

   reporting sexual assaults.

108.      MSU staff and faculty perpetrated a culture of minimizing or ignoring sexual

   harassment. This was evidenced by the lack of action from the administrators and

   investigators, as well as unchecked retaliation after reports, especially involving

   perpetrators with institutional privilege and power.

109.      There is an undeniable culture of fear around reporting assaults committed by

   perpetrators of power on MSU’s campus.

110.      Sex offenders, particularly those with power or influence, are not held accountable

   for their actions at MSU.

111.      When sex offenders are not held accountable for their actions through the MSU

   OIE office, or the criminal justice system, it is a message to the offenders that victims are

   not heard or taken seriously and gives them the “green light” to perpetrate more sexual

   assaults without consequences.

112.      The MSU culture allowed for serial rapists to continue to target and prey on other

   victims in the student body.

113.      Victim safety is not a priority for MSU, or students would not be discouraged from

   reporting sexual assault and harassment.

114.      Instead, students would be encouraged to report and seek advocacy and counseling

   services from trauma-informed experts in the SAP.


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115.          MSU’s policy of non-support of victims puts students at a heightened risk of sexual

   assault.

116.          As a professionally trained sexual assault therapist and social worker, Murgittroyd

   made the following observations about the dynamics of sexual assault perpetration.

117.          Sex offenders are serial in nature and premeditate assaults against victims who are

   less likely to report.

118.          Most victims are raped by someone they know, and perpetrators intentionally

   assault within their own social circle because these victims are less likely to report.

119.          In its final report resulting from its investigation into complaints against MSU dated

   September 1, 2015, the OCR determined the following: “talking into account all of the

   evidence gathered during the investigation, OCR determined that a sexually hostile

   environment existed for and affected numerous students and staff on campus at the

   University during the time period covered by OCR’s investigation; and that the

   University’s failure to address complaints of sexual harassment, including sexual violence

   in a prompt and equitable manner caused and may have contributed to a continuation of

   this sexually hostile environment.”

120.          Despite findings of the final OCR report dated September 1, 2015, the Defendant

   MSU continued its practice of discouraging sexual assault victims from reporting.

121.          MSU’s policy of non-support of victims constitutes discrimination against female

   students, depriving them of their right to an educational environment free of sex-based

   harassment, which is required under Title IX.




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                      ASSAULT VICTIMS’ MEDICAL AND
                    COUNSELING RECORDS ARE REVIEWED
                     BY MSU GENERAL COUNSEL BEFORE
                       THE RECORDS ARE RELEASED—
                       IMPARTING A CHILLING EFFECT
                          ON STUDENTS SEEKING
                          COUNSELING SERVICES

122.      When students request their medical and or counseling records from the Sexual

   Assault Program, they are “interviewed” by counseling department personnel who ask the

   purpose for requesting their personal counseling records.

123.      Once the student requesting their records has been interviewed, the student is

   informed that their records will have to be reviewed by the Michigan State University’s

   Office of General Counsel before the records are released to the student.

124.      Knowing that the university’s legal department is reviewing students’ highly

   personal counseling and medical records intimidates students into not asking for their

   records so as to not have information of a confidential nature disclosed to the attorneys that

   represent the university.

125.      Knowing that their records are subject to review by the University’s Office of

   General Counsel intimidates students from seeking help from the counseling programs and

   other university programs.

126.      Students do not have the reasonable expectation that when they seek counseling or

   medical treatment from university programs, their confidential counseling and medical

   information is subject to the “review” of university attorneys simply because the treatment

   is administered by a university-affiliated health care provider.

127.      Upon information and belief, the University’s Office of General Counsel office

   does not review records of a more mundane nature such as a broken ankle. Records


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          regarding sexual assault counseling and medical treatment are treated differently than

          records of a more mundane nature.

   128.          When Plaintiff requested her complete counseling records in November 2018, she

          was interrogated by the current SAP Director, Tana Fedewa, who asked the Plaintiff why

          the Plaintiff wanted her records.

   129.          Ms. Fedewa told the Plaintiff that once the records were released, that SAP “had

          no control over what the records could be used for.”

   130.          The Plaintiff felt embarrassment and humiliation asking for her own medical

          records.

   131.          Upon information and belief, other female students have been discouraged from

          obtaining their medical and counseling records in a similar fashion.

                                           COUNT I
                                   VIOLATION OF TITLE IX
                                    (20 U.S.C. § 1681, et seq)
                                  AGAINST ALL DEFENDANTS

          Paragraphs 1 through 131 and all subparts are incorporated by reference as if stated in full

herein.

   132.          The sex-based harassment articulated in Plaintiff’s general allegations was so

          severe, pervasive, and objectively offensive that it deprived Plaintiff of access to

          educational benefits provided by MSU.

   133.          Defendants created and/or subjected Plaintiff to a hostile educational environment

          in violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a) (“Title

          IX), because:

                 (a) Plaintiff, a female student, was a member of a protected class.



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           (b) Plaintiff was subjected to sexual harassment in the form of a sexual assault by

                other MSU student(s).

           (c) Plaintiff was subjected to harassment based on her sex.

           (d) Defendants created the circumstances which permitted the sexual assault to take

                place by failing to follow normal reporting and investigative procedures

                regarding sexual assault and failing to properly train staff.

           (e) Defendants’ failure to follow normal protocols in order to protect the university

                and failure to properly train staff cultivated an environment in which female

                students became vulnerable to sexual assault.

           (f) Plaintiff was subjected to a hostile educational environment created by

                Defendants’ lack of effective and appropriate policies and procedures to

                properly prevent, investigate, and address sexual assault and harassment and/or

                lack of implementation of effective and appropriate policies and procedures to

                properly prevent, investigate, and address sexual assault and harassment.

134.       Defendants’ failure to promptly and appropriately respond to the sexual assault

   resulted in Plaintiff, based on her gender, being excluded from participation in, being

   denied the benefits of, and being subjected to discrimination in MSU’s education program

   in violation of Title IX.

135.       Defendants failed to take immediate, effective remedial steps to resolve the

   complaint of sexual harassment and instead acted with deliberate indifference toward

   Plaintiff.




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136.       Defendants persisted in their actions and inaction even after they had actual

   knowledge of the harm suffered by Plaintiff, and despite the September 1, 2015, Resolution

   Agreement it entered into with OCR.

137.       Defendants engaged in a pattern and practice of behavior designed to discourage

   and dissuade students who had been sexually assaulted from seeking assistance and

   protection.

138.       Defendants engaged in suppressing sexual assault grievances, violated its own

   policies regarding sexual assault investigations, violated Title IX, and provided preferential

   treatment to male perpetrators.

139.       This pattern and practice resulted in an unwritten, unofficial policy of protecting

   perpetrators and discouraging complainants from reporting.

140.       This policy constitutes disparate and unequal treatment of female students and has

   a disparate impact on female students.

141.       As enumerated above, the Defendants acted with deliberate indifference in

   deviating from the standard of care outlined by USED in the Dear Colleague Letter of

   2011.

142.       Plaintiff has suffered emotional distress, psychological damages, physical

   manifestation of psychological distress, humiliation, loss of self-esteem, loss of enjoyment

   of life, loss of earnings, loss of earning capacity, academic failures, and past and ongoing

   medical expenses as a direct and proximate result of Defendants’ deliberate indifference to

   her rights under Title IX.




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                                          COUNT II
                                   VIOLATION OF § 1983
                                      (42 U.S.C. § 1983)
                                  AS TO ALL DEFENDANTS

        Paragraphs 1 through and 142 and all subparts are incorporated by reference as if stated in

full herein.



    143.       Under the Fourteenth Amendment, Plaintiff, a female university student, had the

        right to Equal Protection of Laws. Defendants were state actors acting under color of state

        law.

    144.       Defendants subjected Plaintiff to violations of her right to and Equal Protection of

        Laws by maintaining a custom, policy and/or procedure:

               (a) Of actively discouraging victims of sexual assault from reporting sexual

                    assaults, especially when the perpetrator is a member of a fraternity or other

                    prominent organization or membership group on campus.

               (b) Of failing to notify sexual assault victims of their Title IX protections, rights

                    and accommodations.

               (c) Of failing to notify sexual assault victims of all reporting and confidentiality

                    options.

               (d) Of failing to adequately train administrators, employees and others in a

                    position to discover, report, investigate or prevent the acts complained of

                    herein, which amounted to the above referenced violations of constitutional

                    rights and / or federal law.

    145.       Plaintiff has suffered emotional distress, psychological damages, physical

        manifestation of psychological distress, humiliation, loss of self-esteem, loss of enjoyment

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        of life, loss of earnings, loss of earning capacity, academic failures, and past and ongoing

        medical expenses as a direct and proximate result of Defendant's deliberate indifference to

        her rights under Title IX.

                                     COUNT III
                    MICHIGAN’S ELLIOTT-LARSEN CIVIL RIGHTS ACT
                               (SEX DISCRIMINATION)
                              AS TO ALL DEFENDANTS

        Plaintiff incorporates Paragraph 1 through 145 and all subparts of this Complaint as if fully

set forth herein.

    146.        Plaintiff is a member of a protected class pursuant to Michigan’s Elliott-Larsen

        Civil Rights Act, MCL 37.2101 et seq. and MCL 37.2301, et seq.

    147.        The facilities operated by the Defendant Michigan State University were and are

        an educational institution under the ELCRA, MCL 37.2401 et seq. and MCL 37.2301 et

        seq.

    148.        Defendant Michigan State University’s policies and practices, including a failure

        to properly warn, train, and/or educate its students regarding the prevention of sexual

        harassment and/or assault, and the failure to properly investigate reports of sexual

        harassment and assault have a disparate impact on Plaintiff as a woman by subjecting her

        to increased levels of sexual abuse, assault and other violence on campus in comparison to

        male students and by subjecting her to increased levels of emotional distress and other

        harm by virtue of Defendants’ failures to promptly and appropriately address complaints

        of sexual assault.

    149.        Defendant Michigan State University’s acts and omissions based upon Plaintiff’s

        gender have resulted in harm to Plaintiff including physical and emotional harm, and



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   Plaintiff being denied privileges and opportunities that should be available to MSU

   students in violation of MCL 37.2103 et seq.; and MCL 37.2701(a)(f).

                                COUNT IV
                          MONELL LIABILITY FOR
                     FAILURE TO TRAIN AND SUPERVISE
                 AS TO RESPONSE TO SEXUAL HARASSMENT
                 AS TO ALL DEFENDANTS EXCEPT SPENCER

   Paragraphs 1 through 149 are hereby incorporated by reference as if set forth in full herein.

150.      Defendants Simon, Durojaiye, and Norris were “state actors” working for Michigan

   State University, a federally funded state university.

151.      The OIE Investigator acted under “color of law” when, as a new, inadequately

   trained OIE investigator, she failed to inform Plaintiff of her rights and available resources

   to assist with the aftermath of both reported incidents.

152.      The OIE Investigator’s actions indicated to Plaintiff that Plaintiff was responsible

   for JOHN ROE1’s future and that despite John Roe1 threatening Plaintiff’s well-being not

   to get a protective or no contact order.

153.      The OIE Investigator discouraged Plaintiff from reporting to the police because “it

   would be difficult to prove.”

154.      Defendants Simon, Durojaiye, and Norris failed to preserve Plaintiff’s

   constitutional rights to equal protection as guaranteed by the Fourteenth Amendment by

   failing to train the OIE Investigator properly.

155.      Under the Equal Protection Clause of the Fourteenth Amendment, Plaintiff had the

   right to equal access to an educational environment free from harassment and

   discrimination.




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   156.       The OIE Investigator should have been trained that her response to sexual

       harassment must comply with federal law, particularly as outlined in Title IX’s published

       and widely promulgated implementing regulations.

   157.       Defendants Simon, Durojaiye, and Norris each violated Plaintiff’s right to equal

       access by:

              (a)   Failing to take steps to protect Plaintiff as necessary;

              (b)   Treating Plaintiff with deliberate indifference;

              (c)   Failing to take steps to properly investigate the report made by Plaintiff; and

              (d)   Failing to ensure that the OIE investigator who interacted with Plaintiff was

                    properly trained.

   158.       Defendants Michigan State University and Michigan State University Board of

       Trustees violated Plaintiff’s Fourteenth Amendment right to equal protection by failing to

       properly train and supervise its employees as to these mandated investigative requirements.

   159.       These policies and/or practices constituted disparate treatment of women and had a

       disparate impact on female students.

   160.       Defendants’ actions and lack of actions were the proximate cause of Plaintiff’s

       emotional distress and psychological damage because of Defendants’ deliberate

       indifference to her right to equal protection under the Fourteenth Amendment.



       WHEREFORE, Plaintiff respectfully requests judgment in her favor and against

Defendants as follows:

       A.     Compensatory damages for Plaintiff’s psychological and emotional distress,

              physical manifestation of emotional distress, embarrassment, loss of self-esteem,


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          humiliation, loss of enjoyment of life, prevention of obtaining full enjoyment of

          life, loss of earnings past, present, and future, loss of earning capacity, past, present,

          and future expenses for medical and psychological treatment and therapy; Punitive

          damages;

    B.    Injunctive relief requiring Defendants to take effective steps to prevent sex-based

          discrimination and harassment, including sexual assault, in all its programs and

          activities; fully investigate conduct that may constitute sex-based harassment

          and/or sexual assault; mitigate the effects of harassment and/or assault including by

          eliminating any hostile environment that may arise from or contribute to it;

    C.    Statutory interest;

    D.    Costs;

    E.    Reasonable attorney fees; and

    F.    Any other relief the Court deems appropriate.


DATED: November 10, 2019                /s/ Karen Truszkowski (P56929)
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                                   JURY DEMAND

        Now comes Plaintiff by and through her attorney, Karen Truszkowski, and demands a

trial by jury.


DATED: November 10, 2019              /s/ Karen Truszkowski (P56929)
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